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Attorney for Debtor-in-Possession

                           UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF IDAHO

In re:                                               Case No. 20-00674-JMM
                                                     Chapter 11, SubChapter V
BESTVIEW CONSTRUCTION &
DEVELOPMENT, LLC                                     OBJECTION TO CLAIM AND NOTICE –
                                                     PROCON HOMES, INC.
                        Debtor.

To:      ProCon Homes, Inc.
         c/o Jed W. Manwaring
         PO Box 959
         Boise, ID 83701

                                             NOTICE

YOU ARE HEREBY NOTIFIED that the Debtor-in-Possession of the above-captioned
bankruptcy estate has objected to the allowance of your Claim No. 3, filed on August 4, 2020, in
this bankruptcy case.

Your claim may be reduced, modified, or eliminated. You should read these papers carefully
and discuss them with your attorney, if you have one.

YOU ARE FURTHER NOTIFIED that if you do not want the Court to eliminate or change your
claim, and you wish to contest the Debtor’s objection to your claim, a written reply to the objection,
explaining your position, must be filed in duplicate within thirty (30) days from the date this
objection is mailed. File the original (1) with the Clerk of the Bankruptcy Court, Federal Building,
550 West Fort Street, Boise, ID 83701; and (2) a copy with the Debtor and its counsel. If you mail
your response to the court for filing, you must mail it early enough so that the Court will receive
it on or before the end of the thirty-day period.

YOU ARE FURTHER NOTIFIED that if the objection is a matter which can be corrected by
filing an amended claim, you may do so prior to the expiration of the thirty (30) day period. Failure
to file a written reply will result in the Debtor requesting that the Court enter an order disallowing
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the claim to the extent objected to. If you or your attorney do not take these steps, the Court may
decide that you do not oppose the objection to your claim and may grant the Debtor’s request.



                                          OBJECTION

       The Debtor’s objection is made on the following grounds:

   1. Documentation attached to the Proof of Claim asserts that the claim is based on “materials

       furnished to and/or labor performed”. However, the Debtor disputes the labor was

       professionally or competently performed and/or materials furnished were correct or of

       correct quality. ProCon Homes was hired to do framing work on the properties. Work was

       performed incorrectly, was incomplete, and/or was not completed in time and causes delays

       to the rest of the work being performed by other parties.

       Based on the foregoing objections, the Claim asserted by ProCon Homes in its Proof of

Claim No. 3 should be disallowed.



       DATED this 20th day of October, 2020.

                                                        /s/ Matt Christensen
                                                 MATTHEW T. CHRISTENSEN
                                                 Attorney for Trustee
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 20th day of October, 2020, I filed the foregoing
OBJECTION TO CLAIM AND NOTICE – PROCON HOMES electronically through the
CM/ECF system, which caused the following parties to be served by electronic means, as more
fully reflected on the Notice of Electronic Filing:

      Matthew T. Christensen                      mtc@angstman.com
      Chad Moody                                  chad@angstman.com
      U.S. Trustee                                ustp.region18.bs.ecf@usdoj.gov
      Matthew W. Grimshaw                         matt@grimshawlawgroup.com
      Heidi Buck Morrison                         heidi@racineolson.com
      Thomas E Dvorak                             ted@givenspursley.com
      Jared Harris                                jharris@bakerharrislaw.com
      Jay J. Kiiha                                jkiiha@whitepeterson.com
      Jed W. Manwaring                            jmanwaring@evanskeane.com
      Mark B. Perry                               mbp@perrylawpc.com
      Randall A. Peterman                         rap@givenspursley


      Any others as listed on the Court’s ECF Notice.

     I FURTHER CERTIFY that on such date I served the foregoing on the following non-
CM/ECF Registered Participants via U.S. Mail, postage prepaid:

      ProCon Homes, Inc.
      c/o Jed W. Manwaring
      PO Box 959
      Boise, ID 83701


                                                   /s/ Matt Christensen
                                             Matthew T. Christensen
